                                    Case 22-10293                 Doc 10          Filed 06/11/22               Page 1 of 2
                                                              United States Bankruptcy Court
                                                              Middle District of North Carolina
In re:                                                                                                                 Case No. 22-10293-bak
Mya Deionshai Corbett                                                                                                  Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0418-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 09, 2022                                               Form ID: 270                                                               Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 11, 2022:
Recip ID                 Recipient Name and Address
db                     + Mya Deionshai Corbett, 1183 University Dr, #105227, Burlington, NC 27215-8303

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: bancm_ecf@ncmba.uscourts.gov
                                                                                        Jun 09 2022 17:57:00      William P. Miller, Bankruptcy Administrator, 101
                                                                                                                  South Edgeworth Street, Greensboro, NC
                                                                                                                  27401-6024

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 11, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 9, 2022 at the address(es) listed below:
Name                               Email Address
Anita Jo Kinlaw Troxler,
                                   office@chapter13gboro.com office5@chapter13gboro.com


TOTAL: 1
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Form 270

                                  UNITED STATES BANKRUPTCY COURT
                                               Middle District of North Carolina
                                                  101 S. Edgeworth Street
                                                   Greensboro, NC 27401

                                                                                          Bankruptcy Case No.: 22−10293
IN THE MATTER OF:
Mya Deionshai Corbett    xxx−xx−3117
1183 University Dr
#105227
Burlington, NC 27215

   Debtor(s)



                                                 NOTICE OF FILINGS DUE



It appearing that a petition commencing a case under Title 11, United States Code was filed by or against the person named above
on 6/8/22 , and Pursuant to Bankruptcy Rule 1007 and/or Bankruptcy Rule 3015, the following document(s) named below must be filed
within fourteen (14) days from the date the petition was filed.

Missing Documents(s):
___________________________
Notice of Crd & Pro Pln due 06/22/2022
Schedule A/B due 06/22/2022
Schedule G due 06/22/2022
Schedule H due 06/22/2022
Ch13 Income Form 122C−1 due 06/22/2022
Schedule I due 06/22/2022
Verification of Matrix due 06/22/2022
Schedule J due 06/22/2022
Stmt. of Fin. Affairs due 06/22/2022
Summary − Form B 106 due 06/22/2022
Exempt Property Claim due 06/22/2022
Dec. Con. Debtor's Schedules due 06/22/2022




Date: 6/9/22                                                                              OFFICE OF THE CLERK/ TR
